                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )      NO. 3:11-00194
                                                  )      JUDGE CAMPBELL
JESSIE LEE ALLEN                                  )

                                          ORDER

      Pending before the Court is Defendant Allen’s Unopposed Motion to Reassign Sentence

Date (Docket No. 1711) currently set for December 30, 2013. The Motion is GRANTED.

      The sentencing hearing is continued to January 27, 2014 at 11:30 a.m.

      It is so ORDERED.

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                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




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